          Case 1:15-cv-00271-LY Document 90 Filed 02/07/17 Page 1 of 2
                           .                                          .
                        IN THE UNITED STATES DISTRICT COURT                            17rEB_7 PH      2:   V
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                                      COURT
                                                                                     WESTEI    V:
SOUTH AUSTIN PHARMACY
Plaintiff
                                                                                                 CE    TRK
                                                      § CIVIL ACTION NO. 1:15-CV-00271-LY
 V.
                                                      § JURY TRIAL DEMANDED
                                                      §
PHARMACISTS MUTUAL                                    §
INSURANCE COMPANY                                     §
Defendant                                             §



                         ORDER OF DISMISSAL WITH PREJUDICE


       The Court has considered the Motion to Dismiss with Prejudice of South Austin Pharmacy,

determined that this case has been settled for a good and valuable consideration and finds that such

motion should be, in all things, GRANTED. Accordingly,

       IT IS HEREBY ORDERED that all claims and causes of action brought by South Austin

Pharmacy, or that could have been brought by South Austin Pharmacy against Pharmacists Mutual

Insurance Company be, and the same hereby are, dismissed with prejudice to the refihing of same,

with costs to be borne by the respective party incurring same.

       DONE AT AUSTiN, TEXAS on the_____day                                       2017.



                                                            STATES
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APPROVED AS TO FORM AND SUBSTANCE:



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